                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL CASE NO.: 3:97CR7-V

UNITED STATES OF AMERICA        )
                                )
           v.                   )                       ORDER
                                )
RAYMOND BERNARD TEMPLETON, )
                Defendant.      )
________________________________)

       THIS MATTER is before the Court on Defendant’s “Motion to Modify Term of

Imprisonment Pursuant to 18 U.S.C. 3582.” (Documents ##249, 250)

       Defendant’s motion requests that the Court exercise its discretion and consider

application of Amendment 505 to the United States Sentencing Guidelines to the instant

case.1 However, a review of the Defendant’s Presentence Investigation Report reveals

1) that the 1995 edition of the U.S. Sentencing Guidelines (including 1997 Amendments)

was considered in calculating the guidelines sentence; and 2) that Defendant’s guidelines

sentence calculation, in fact, began at base offense level 38, triggered by drug quantity



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        The reason for Amendment 505, effective November 1, 1994, is explained by the
Sentencing Commission as follows:

       “This amendment sets the upper limit of the Drug Quantity Table in 2D1.1 at
       level 38. The Commission has determined that the extension of the Drug
       Quantity Table above level 38 for quantity itself is not required to ensure
       adequate punishment given that organizers, leaders, managers, and supervisors
       of such offenses will receive a 4-, 3-, or 2- level enhancement for their role in the
       offense, and any participant will receive an additional 2-level enhancement if a
       dangerous weapon is possessed in the offense. The Commission has not,
       however, foreclosed the possibility of an upward departure above offense level
       38 on the basis of drug quantity in an extraordinary case. . .”

U.S.S.G., Appx. C, Vol. I (2003).

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under U.S.S.G. §2D1.1. (See PSR, ¶16) Further, although guideline adjustments based

upon both role in the offense and possession of a weapon were applied, application of both

of these adjustments is entirely consistent with Amendment 505.

      IT IS, THEREFORE, ORDERED that Defendant’s “Motion to Modify Term of

Imprisonment Pursuant to 18 U.S.C. §3582” is DENIED.




                                            Signed: May 3, 2007




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